Case 1:22-cv-02446-JPH-TAB Document 12 Filed 03/01/23 Page 1 of 1 PageID #: <pageID>



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA                The Court acknowledges the
                                    INDIANAPOLIS DIVISION                   Stipulation of Dismissal with
                                                                            Prejudice, dkt. 11.
   DENNIS TOOLEY,                            )                              JPH, 3/1/2023
   an individual,                            )                              Distribution via ECF.
                                             )
                 Plaintiff,                  )
   vs.                                       )                 CASE NO.: 1:22-cv-2446-JPH-TAB
                                             )
   KLC REALTY, LLC,                          )
   an Indiana Limited Liability Company,     )
                                             )
                 Defendant.                  )
   _________________________________________ )


                       STIPULATION OF DISMISSAL WITH PREJUDICE

           Plaintiff and Defendant, by and through their respective undersigned counsel, and pursuant

   to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), hereby stipulate to dismiss Defendant of all

   counts and claims asserted in this matter with prejudice and, except as agreed between the parties,

   each party to bear their own attorney’s fees, costs, and expenses.

   Dated: February 28, 2023

    /s/ Louis I. Mussman                                   /s/Thomas W. Vander Luitgaren
    Louis I. Mussman, Esq.                                 Thomas W. Vander Luitgaren, Esq.
    Bar No. 597155                                         Van Valer Law Firm, LLP
    Ku & Mussman, P.A.                                     Bar No. 20416-43
    18501 Pines Boulevard, Suite 209-A                     225 S. Emerson Ave, Ste. 181
    Pembroke Pines, FL 33029                               Greenwood, IN 46143
    Tel: (305) 891-1322                                    Tel: (317) 881-7575
    Fax: (954) 686-3976                                    Fax: (317) 859-2159
    Louis@kumussman.com                                    Tom@vanvalerlaw.com
                                                           Attorneys for Defendant
     and

    Eric C. Bohnet, Esq.
    Attorney No. 24761-84
    Attorney at Law
    6617 Southern Cross Drive
                                                    1
